Case 5:11-cv-01846-LHK Document 2068-6 Filed 10/20/12 Page 1 of 4

EXHIBIT 137
Samsung Mesmerize (U.S. Cellular) - CNET Ni

Case 5:11-cv-01846-LHK Document 2068-6 Filed 10/20/12 Page 2 of 4

ea tele (Olei mad ace(=1]

HINT

sda] =) AU 1 @),11 0) (0f~(0 ©) ll (0) a oe = 1 bo

CNET » News » Image Galleries » Top-rated reviews of the week (photos)

Samsung Mesmerize
(U.S. Cellular)

10 of 10 from Top-rated reviews of the week (photos)

Samsung Mesmerize (U.S. Cellular)

Editors’ rating: 4 out of 5

The good: The Samsung Mesmerize boasts a beautiful Super AMOLED touch
screen and a 1GHz Hummingbird processor. The smartphone's 5-megapixel camera
takes excellent photos and video.

The bad: Call quality could be slightly better. The phone feels a bit slick.

The bottom line: The Samsung Mesmerize is a top-notch smartphone for U.S.
Cellular customers, offering a brilliant touch screen, speed, and plenty of features.

Read CNET's full review
Price range: $199.99

November 13, 2010 4:00 AM PST
Photo by: Josh Miller/CNET | Caption by: James Martin

ST

http://news.cnet.com/2300-1041_3-10005558-10.html[ 10/15/2012 2:14:06 PM]

i Search CNET <3. |

ole (am mele)

Steve Jobs'
shadow lives on in
tribute MacBook
Pro laptops

CNET

Samsung Mesmerize (U.S. Cellular) - CNET News

N
Case 5:11-cv-01846-LHK Document 2068-6 Filed 10/20/12 Page 3 of 4

Verizon won't
penalize iPhone 5
owners for Wi-Fi
bug

CNET

Join the conversation

What Happens
When Huge
Companies
Continually Make
Stupid Mistakes?
Fool.com

r _
New iPhone nears
as holiday lineups

unveiled
The Mesh Report

Log in or create an account to post a comment, or quickly sign in with: jj

Comment

PUD MA Colti mete liitsiiis

The posting of advertisements, profanity, or personal attacks is prohibited. Click
here to review our Terms of Use

ON PO) om [allele mee =a a Le) |e ge) =e) tC) t= etn |

BA

PN nse \ dS
Orlane) cole)
1OF-| aE —Tei

O7—1 | adele) a(t)

1B )e fit Or- ant -ae= 13
(elats)

1H) (0) 0)

aw

1 ]6 f=) pl-t-t aa 16)
bee

Loli adiate pl mtole(=1
Lett Ete)
bette THA]

ina [att

rele fs)
aXe (of @o]6] mee ie)iuy'c- |i
rN Bley aller=(9
NET es
Nite) efi (
po) NEI Br] 3}
Meee

Mi late lexi)

1] =a a
PNA Ale (=e)
Ch Emel
fa\®) ®) (a= hy)
Nets) sce] 901 oly
0). |= a Ke) oie)
eS Sam Bofors
mir4-vile la)

HT

http://news.cnet.com/2300-1041_3-10005558-10.html[ 10/15/2012 2:14:06 PM]

Veet el tats) SLOW Nieto Rte

PV ele]0 iO) ete ali le (=
velo] @e2 | all

10) |= Bist

fe | area ant)

0) =a ma fe)s)] (=

(eo) Saito) mf)

fo) f¢—Tes(To) ah)

lal=i| ola) (cag

leds] testo} 0) go)

me) |(e) ae Sen = ee
ire (6-810 ]°) 4

eas

[ejolete (aa
Bolen av] oy —1

MB al<—re la

wiles

INA

AMES [ices

net)

Samsung Mesmerize (U.S. Cellular) - CNET News

N
Case 5:11-cv-01846-LHK Document 2068-6 Filed 10/20/12 Page 4 of 4

http://news.cnet.com/2300-1041_3-10005558-10.html[ 10/15/2012 2:14:06 PM]
